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UNITED STA'l`ES DISTRICT COURT
SOUTHERN DIS'I`RICT OF OHIO
WES'I`I~§RN I)IVISION

 

UNI'I`ED STATES OF AMERICA
Criminal No. l:lG-CR-64
v.

)
)
)
)
MARUYASU INDUSTRlES CO., LTD., ) Violalion: 15 U.S.C. § 1
CUR'l`IS-MARUYASU AMERIC/\. INC., )
'l`AD/\O I-IIRADE, )
KAZUNOPJ KOBAYASHI, )
SATORU MURAI, and )
)
}
)
)

YOSI'III-IIRO SHIGEMATSU,

['Ion. Susan J. Dlott (U.S.D..l.)

Def`enclants.

 

ORDIER ()F DISMISSAL

This matter comes before the Court upon United States’ Motion to Dismiss. Upon
review of`lhe 1no1ion, and f`or the reasons stated therein, the Court GRAN'I`S United Stales’
Motion to Dismiss.

I’l` IS 'l`l-lEREFORE ORDERED. AD.IUDGIED._ and DECRI?.EI) that the lndietment
(Doc. l) is DISMISSED With prejudice as lo Curtis-Maruyasu Ameriea__ Inc._. Tadao I`Iiradc_.
Kazunori Kobayashi_. and Yoshihiro Shigemalsn.

IT IS FURTHER ORDERED TI'l/\'l` the arrest warrants issued as to ‘l`adao I-Iirade (Doc.
29), Kaz.unori Kobayashi (Doc. 30), and Yoshihiro Shigcmatsu (Doc. 32) be terminated and

wilhdrawn.

l'I` IS SO ORDERED.

Date: 20/8 a Q¢@M-/
`H];". I'IONORABL USAN J. DLO'[`T

U`NITED STATF.S D S‘I`RIC'l` .Il_H)GI;`

 

 

